                Case 2:16-cr-00106-KJM Document 36 Filed 04/24/17 Page 1 of 2

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 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                                CASE NO. 2:16-CR-0106 KJM
11
                                     Plaintiff,               ORDER SEALING DOCUMENTS AS SET FORTH
12                                                            IN GOVERNMENT’S NOTICE
                              v.
13
     PAMELA DAWN PIERSON, ET AL.,
14
                                     Defendants.
15

16

17           Pursuant to Local Rule 141(b) and based upon the representation contained in the Government’s
18 Request to Seal, IT IS HEREBY ORDERED that the four-page document pertaining to defendant

19 Pamela Dawn Pierson, and the Government’s Request to Seal shall be SEALED until further order of

20 this Court.

21           It is further ordered that access to the sealed documents shall be limited to the government and
22 counsel for defendant Pamela Dawn Pierson.

23           The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court for

24 the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in the

25 Government’s request, sealing the four-page document serves a compelling interest. The Court further finds

26 that, in the absence of closure, the compelling interests identified by the Government would be harmed. In

27 light of the public filing of its request to seal, the Court further finds that there are no additional alternatives

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       ORDER SEALING DOCUMENTS AS SET FORTH IN                1
       GOVERNMENT’S NOTICE
              Case 2:16-cr-00106-KJM Document 36 Filed 04/24/17 Page 2 of 2

 1 to sealing the Government’s memorandum that would adequately protect the compelling interests identified

 2 by the Government.

 3 DATED: April 24, 2017.

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                                                            UNITED STATES DISTRICT JUDGE
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      ORDER SEALING DOCUMENTS AS SET FORTH IN           2
      GOVERNMENT’S NOTICE
